 Case 1:17-cv-01034-JTN-ESC ECF No. 48 filed 09/04/18 PageID.196 Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

JANE DOE,                                               )
                                                        )
                                       Plaintiff,       )
                                                        )     Civil Action No.
          v.                                            )     1:17-cv-01034-JTN-ESC
                                                        )
MICHIGAN STATE UNIVERSITY;                              )
MICHIGAN STATE UNIVERSITY BOARD                         )
OF TRUSTEES; LOU ANNA SIMON in her                      )
Individual and Official Capacities;                     )
                                                        )
                                       Defendants.      )

        JOINT STATEMENT OF MATERIAL FACTS IN CONJUNCTION WITH
             MICHIGAN STATE UNIVERSITY’S MOTION TO DISMISS
                        PLAINTIFF’S COMPLAINT

                Pursuant to the Court’s March 15, 2018 Pre-Motion Conference Order, Plaintiff

Jane Doe (“Plaintiff”), and Defendant Michigan State University (“MSU”), through their

undersigned counsel, submit this Joint Statement of Material Facts. As this is a Motion to

Dismiss, where MSU is required to accept as true the allegations in the Complaint, MSU’s

Motion to Dismiss accepts the allegations as true. Here, the parties have identified certain basic

facts that are not in dispute:

                1.      Plaintiff was a freshman student at MSU during the 2014-2015 academic
                        year.

                2.      MSU is a public university that receives federal funds.

                3.      Keith Mumphery graduated from MSU in May 2014 and stopped playing
                        football for MSU by the end of the fall 2014 semester.

                4.      On or about March 17, 2015, Plaintiff reported that she was sexually
                        assaulted by Mumphery to the MSU Department of Police and Public
                        Safety.
 Case 1:17-cv-01034-JTN-ESC ECF No. 48 filed 09/04/18 PageID.197 Page 2 of 3



               5.         On March 18, 2015, Plaintiff reported the assault to MSU’s Office for
                          Inclusion and Intercultural Initiatives, later named the Office of
                          Institutional Equity (“OIE”).

               6.         OIE investigated Plaintiff’s report of sexual assault.

               7.         OIE ultimately concluded that Mumphery violated MSU’s Policy on
                          Relationship Violence and Sexual Misconduct (the “Policy”).

               8.         Plaintiff obtained counseling services from MSU’s Olin Health Center.

               9.         Plaintiff obtained a “school visa” for assistance with her struggling grades
                          from MSU’s Resource Center for People with Disabilities (“RCPD”).

               10.        Mumphery never approached or harassed Plaintiff after she reported her
                          assault.

Respectfully submitted,                            Respectfully submitted,


s/ Karen Trusczkowski                              s/ Michael E. Baughman
________________________________                   ________________________________
Karen Truszkowski, Esq. (P56929)                   Michael E. Baughman, Esq.
Temperance Legal Group                             Attorney I.D. No. 78690
PLLC 503 Mall Court #131                           PEPPER HAMILTON LLP
Lansing, MI 48912                                  Kristin H. Jones, Esq.
1-844-534-2560                                     Attorney I.D. No. 85725
Karen@temperancelegalgroup.com                     3000 Two Logan Square
                                                   Eighteenth & Arch Streets
                                                   Philadelphia, PA 19103-2799
s/ Julie A. Jacot                                  (215) 981-4000
________________________________                   baughmam@pepperlaw.com
Julie A. Jacot, Esq.                               joneskh@pepperlaw.com
Jacot Law PLLC
1044 N. Irish Road, Suite A                        Matthew J. Lund, Esq. (P48632)
Davidson, MI 48423                                 PEPPER HAMILTON LLP
810-653-9526                                       4000 Town Center, Suite 1800
juliejacotlaw@gmail.com                            Southfield, Michigan 48075
                                                   (248) 359-7370
Attorneys for Plaintiff                            lundm@pepperlaw.com

                                                   Attorneys for Defendant
                                                   Michigan State Univ.



Dated: July 10, 2018

                                                   -2-
 Case 1:17-cv-01034-JTN-ESC ECF No. 48 filed 09/04/18 PageID.198 Page 3 of 3



                                CERTIFICATE OF SERVICE

              I certify that on the 10th day of July, 2018, I served the foregoing Joint Statement

of Material Facts in Conjunction with Michigan State University’s Motion to Dismiss Plaintiff’s

Complaint, via electronic mail and First Class Mail, upon the following counsel of record:

                                     Karen Truszkowski, Esq. (P56929)
                                     Temperance Legal Group
                                     PLLC 503 Mall Court #131
                                     Lansing, MI 48912
                                     1-844-534-2560
                                     Karen@temperancelegalgroup.com

                                     Julie A. Jacot, Esq.
                                     Jacot Law PLLC
                                     1044 N. Irish Road, Suite A
                                     Davidson, MI 48423
                                     810-653-9526
                                     juliejacotlaw@gmail.com

                                     Attorneys for Plaintiff



                                             s/ Michael E. Baughman
                                             ____________________________________
                                             Michael E. Baughman, Esq.
                                             Attorney I.D. No. 78690
                                             baughmam@pepperlaw.com
                                             PEPPER HAMILTON LLP
                                             3000 Two Logan Square
                                             Eighteenth & Arch Streets
                                             Philadelphia, PA 19103-2799
                                             (215) 981-4000
